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AO 442 (Rev. (1/11) Arrest Warrant

UNITED STATES DISTRICT COURT

for the

District of Columbia

_ United States of America

 

v. ) Gage: 1: ‘24 -mj-00250
Jeremy Daniel Groseclose _) Assigned to: Judge Faruqui, Zia M
| ) Assign Date: 2/22/2021
) Description: COMPLAINT WARREST WARRANT
)
Defendant
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without. unnecessary delay

(name of person to be arrested) Jeremy Daniel Groseclose ,
who is accused of an offense or violation based on the following document filed with the court:

Indictment  Superseding Indictment © Information © Superseding Information. I Complaint
(J Probation Violation Petition (J Supervised Release Violation Petition Violation Notice O Order of the Court

This offense is briefly described as follows:

18 U.S.C. § 23 1(a)(3) - Obstruction of Law Enforcement During Civil Disorder;

18 U.S.C. § 1512(c)(2) - Obstruction of Justice/Congress;

18 U.S.C. §§ 1752(a)(1) and (2) - Knowingly Entering or Remaining in any Restricted Building or
Grounds Without Lawful Authority;

40 U.S.C. § 5104(e)(2) - Violent Entry and Disorderly Conduct on Capitol Grounds,

   

21.02.22 18:34:42 -05'00'
Date: 02/22/2021

 

Issuing officer's signature

City and state: Washington, D.C. Zia M. Faruqui, U.S. Magistrate Judge

Printed name and title

 

Return

This warrant was received on (date) 2[23/toe , and the person was arrested on (date) f/ 95 Joon) {

at (cityand state) Ef, ‘ston, View iara

pate: 2/95/02} IE

Arresting officer’s signature

Methew tre - FEL Soteal Agent

Printed name dnd title

 

 

 

 

 
